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SURYLGHGE\ORFDOUXOHVRIFRXUW7KLVIRUPDSSURYHGE\WKH-XGLFLDO&RQIHUHQFHRIWKH8QLWHG6WDWHVLQ6HSWHPEHULVUHTXLUHGIRUWKHXVHRIWKH&OHUNRI&RXUWIRUWKH
SXUSRVHRILQLWLDWLQJWKHFLYLOGRFNHWVKHHW(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

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Patent Armory Inc.                                                                                     Rent-A-Wreck of America Inc.

    E &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG3ODLQWLII                                                     &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW
                              (EXCEPT IN U.S. PLAINTIFF CASES)                                                                 (IN U.S. PLAINTIFF CASES ONLY)
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    F $WWRUQH\V(Firm Name, Address, and Telephone Number)                                              $WWRUQH\V(If Known)
Antranig Garibian, Esquire
1800 John F. Kennedy Boulevard, Suite 300, Philadelphia, PA 19103
(215) 326-9179
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u  86*RYHUQPHQW              u  )HGHUDO4XHVWLRQ                                                                     37) '()                                              37)     '()
        3ODLQWLII                         (U.S. Government Not a Party)                        &LWL]HQRI7KLV6WDWH         u     u         ,QFRUSRUDWHGor3ULQFLSDO3ODFH        u       u 
                                                                                                                                                RI%XVLQHVV,Q7KLV6WDWH

u  86*RYHUQPHQW              u  'LYHUVLW\                                              &LWL]HQRI$QRWKHU6WDWH          u     u     ,QFRUSRUDWHGand3ULQFLSDO3ODFH      u       u 
        'HIHQGDQW                         (Indicate Citizenship of Parties in Item III)                                                            RI%XVLQHVV,Q$QRWKHU6WDWH

                                                                                               &LWL]HQRU6XEMHFWRID           u     u     )RUHLJQ1DWLRQ                        u       u 
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,9 1$785(2)68,7(Place an “X” in One Box Only)                                                                                        &OLFNKHUHIRU1DWXUHRI6XLW&RGH'HVFULSWLRQV
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u ,QVXUDQFH                  3(5621$/,1-85<          3(5621$/,1-85<           u 'UXJ5HODWHG6HL]XUH          u $SSHDO86&         u )DOVH&ODLPV$FW
u 0DULQH                     u $LUSODQH                u 3HUVRQDO,QMXU\             RI3URSHUW\86&       u :LWKGUDZDO                u 4XL7DP 86&
u 0LOOHU$FW                 u $LUSODQH3URGXFW                3URGXFW/LDELOLW\     u 2WKHU                              86&                     D
u 1HJRWLDEOH,QVWUXPHQW               /LDELOLW\          u +HDOWK&DUH                                                                                  u 6WDWH5HDSSRUWLRQPHQW
u 5HFRYHU\RI2YHUSD\PHQW u $VVDXOW/LEHO                    3KDUPDFHXWLFDO                                                3523(57<5,*+76              u $QWLWUXVW
      (QIRUFHPHQWRI-XGJPHQW           6ODQGHU                    3HUVRQDO,QMXU\                                            u &RS\ULJKWV                u %DQNVDQG%DQNLQJ
u 0HGLFDUH$FW               u )HGHUDO(PSOR\HUV¶              3URGXFW/LDELOLW\                                          u 3DWHQW                    u &RPPHUFH
u 5HFRYHU\RI'HIDXOWHG               /LDELOLW\          u $VEHVWRV3HUVRQDO                                             u 3DWHQW$EEUHYLDWHG      u 'HSRUWDWLRQ
     6WXGHQW/RDQV              u 0DULQH                          ,QMXU\3URGXFW                                              1HZ'UXJ$SSOLFDWLRQ   u 5DFNHWHHU,QIOXHQFHGDQG
      ([FOXGHV9HWHUDQV         u 0DULQH3URGXFW                  /LDELOLW\                                                 u 7UDGHPDUN                      &RUUXSW2UJDQL]DWLRQV
u 5HFRYHU\RI2YHUSD\PHQW             /LDELOLW\           3(5621$/3523(57<                        /$%25                     62&,$/6(&85,7<               u &RQVXPHU&UHGLW
     RI9HWHUDQ¶V%HQHILWV      u 0RWRU9HKLFOH           u 2WKHU)UDXG               u )DLU/DERU6WDQGDUGV          u +,$ II                     86&RU
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u 2WKHU&RQWUDFW                      3URGXFW/LDELOLW\   u 2WKHU3HUVRQDO            u /DERU0DQDJHPHQW              u ',:&',::  J               3URWHFWLRQ$FW
u &RQWUDFW3URGXFW/LDELOLW\ u 2WKHU3HUVRQDO                  3URSHUW\'DPDJH             5HODWLRQV                    u 66,'7LWOH;9,            u &DEOH6DW79
u )UDQFKLVH                           ,QMXU\              u 3URSHUW\'DPDJH           u 5DLOZD\/DERU$FW             u 56,  J                u 6HFXULWLHV&RPPRGLWLHV
                                 u 3HUVRQDO,QMXU\               3URGXFW/LDELOLW\      u )DPLO\DQG0HGLFDO                                                 ([FKDQJH
                                          0HGLFDO0DOSUDFWLFH                                      /HDYH$FW                                                    u 2WKHU6WDWXWRU\$FWLRQV
     5($/3523(57<                   &,9,/5,*+76          35,621(53(7,7,216            u 2WKHU/DERU/LWLJDWLRQ          )('(5$/7$;68,76             u $JULFXOWXUDO$FWV
u /DQG&RQGHPQDWLRQ          u 2WKHU&LYLO5LJKWV           +DEHDV&RUSXV             u (PSOR\HH5HWLUHPHQW           u 7D[HV 863ODLQWLII     u (QYLURQPHQWDO0DWWHUV
u )RUHFORVXUH                u 9RWLQJ                  u $OLHQ'HWDLQHH                 ,QFRPH6HFXULW\$FW                RU'HIHQGDQW             u )UHHGRPRI,QIRUPDWLRQ
u 5HQW/HDVH (MHFWPHQW     u (PSOR\PHQW              u 0RWLRQVWR9DFDWH                                             u ,56²7KLUG3DUW\                $FW
u 7RUWVWR/DQG              u +RXVLQJ                        6HQWHQFH                                                        86&              u $UELWUDWLRQ
u 7RUW3URGXFW/LDELOLW\              $FFRPPRGDWLRQV      u *HQHUDO                                                                                       u $GPLQLVWUDWLYH3URFHGXUH
u $OO2WKHU5HDO3URSHUW\    u $PHUZ'LVDELOLWLHV u 'HDWK3HQDOW\                       ,00,*5$7,21                                                     $FW5HYLHZRU$SSHDORI
                                          (PSOR\PHQW               2WKHU                     u 1DWXUDOL]DWLRQ$SSOLFDWLRQ                                         $JHQF\'HFLVLRQ
                                 u $PHUZ'LVDELOLWLHV u 0DQGDPXV 2WKHU           u 2WKHU,PPLJUDWLRQ                                             u &RQVWLWXWLRQDOLW\RI
                                          2WKHU               u &LYLO5LJKWV                $FWLRQV                                                         6WDWH6WDWXWHV
                                 u (GXFDWLRQ               u 3ULVRQ&RQGLWLRQ
                                                               u &LYLO'HWDLQHH
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9 25,*,1(Place an “X” in One Box Only)
u  2ULJLQDO            u  5HPRYHGIURP              u      5HPDQGHGIURP              u  5HLQVWDWHGRU       u  7UDQVIHUUHGIURP      u  0XOWLGLVWULFW              u 0XOWLGLVWULFW
    3URFHHGLQJ              6WDWH&RXUW                        $SSHOODWH&RXUW                5HRSHQHG                 $QRWKHU'LVWULFW              /LWLJDWLRQ              /LWLJDWLRQ
                                                                                                                    (specify)                        7UDQVIHU                  'LUHFW)LOH
                                      &LWHWKH86&LYLO6WDWXWHXQGHUZKLFK\RXDUHILOLQJ(Do not cite jurisdictional statutes unless diversity)
                                       35 U.S.C. 271, et seq.
9, &$86(2)$&7,21 %ULHIGHVFULSWLRQRIFDXVH
                                       Patent infringement
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